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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

JEFFERY T. BINGHAM, Individually            §
and On Behalf of All Others Similarly       §
Situated,                                   §
                                            §
                    Plaintiff,              §              No. 1:11-cv-00048
                                            §
v.                                          §
                                            §         JURY TRIAL DEMANDED
JEFFERSON COUNTY, TEXAS and                 §
SHERIFF G. MITCH WOODS                      §
                                            §
                    Defendants.             §

                    PLAINTIFF’S MOTION TO STRIKE
              DEFENDANTS’ SUMMARY JUDGMENT EVIDENCE

      COMES NOW Plaintiff Jeffery T. Bingham, individually and on behalf of all

others similarly situated, and files this motion to strike Exhibit F (Docket Entry No. 228-

1) and Exhibit G (Docket Entry No. 228-2) to Defendants Jefferson County, Texas and

Sheriff G. Mitch Woods’ Reply to Plaintiff’s Response in Opposition to Defendants’

Motion for Summary Judgment (Docket Entry No. 228). In support thereof, he would

respectfully show the Court as follows:

                                   I. INTRODUCTION

      On August 31, 2012, Defendants Jefferson County, Texas and Sheriff G. Mitch

Woods (collectively referred to as “Defendants”) filed their Motion for Summary

Judgment (Docket Entry No. 224). Plaintiff Jeffery T. Bingham, individually and on

behalf of all others similarly situated, (referred to as “Plaintiff”) responded to

Defendants’ Motion for Summary Judgment on September 24, 2012 (Docket Entry No.
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227), and Defendants replied to Plaintiff’s response on October 1, 2012 (Docket Entry

No. 228). Now, for the reasons detailed more particularly below and pursuant to FED. R.

CIV. P. 56(c)(2), Plaintiff moves to strike Exhibit F (Docket Entry No. 228-1) and

Exhibit G (Docket Entry No. 228-2) to Defendants’ Reply to Plaintiff’s Response in

Opposition to Defendants’ Motion for Summary Judgment (Docket Entry No. 228).

                             II. ARGUMENT & AUTHORITIES

       In their Reply to Plaintiff’s Response in Opposition to Defendants’ Motion for

Summary Judgment (Docket Entry No. 228), Defendants rely on evidence that is plainly

inadmissible. Therefore, it should be stricken from the record.

A.     Wikipedia Entry

       In their Reply to Plaintiff’s Response in Opposition to Defendants’ Motion for

Summary Judgment (Docket Entry No. 228), Defendants rely on a Wikipedia entry to

show that certain evidence offered by Plaintiff in his Response in Opposition to

Defendants’ Motion for Summary Judgment (Docket Entry No. 227) is irrelevant and

unreliable. See, Defs.’ Reply to Pl.’s Resp. in Opp’n to Defs.’ Mot. Summ. J. (Docket

Entry No. 228) at p. 4. The Fifth Circuit has definitively held, however, that Wikipedia is

“an unreliable source of information.” Li v. Holder, 400 Fed. App’x 854, 857-58 (5th

Cir. 2010) (“We discuss this issue separately only to express our disapproval of the

[administrative law judge’s] reliance on Wikipedia and to warn against any improper

reliance on it or similarly unreliable internet sources in the future.”); Glanville v. Dupar,

Inc., No. H-08-2537, 2009 U.S. Dist. LEXIS 88408, at *15 n.2 (S.D. Tex. Sep. 25, 2009)

(Rosenthal, J.) (“Wikipedia is an inherently unreliable source.”); Performance Pricing,

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Inc. v. Google, Inc., 2009 U.S. Dist. LEXIS 71264, at *12 n.15 (E.D. Tex. Aug. 13,

2009); St. Clair v. Johnny’s Oyster & Shrimp, Inc., 76 F. Supp. 2d 773, 775 (S.D. Tex.

1999) (“Any evidence procured off the internet is adequate for almost nothing, even

under the most liberal interpretation of the hearsay exception.”). Therefore, the Court

should strike Exhibit F (Docket Entry No. 228-1) to Defendants’ Reply to Plaintiff’s

Response in Opposition to Defendants’ Motion for Summary Judgment (Docket Entry

No. 228).

B.    Deposition of Joel Bradberry

      In their Reply to Plaintiff’s Response in Opposition to Defendants’ Motion for

Summary Judgment (Docket Entry No. 228), Defendants also rely on deposition

testimony given by Joel Bradberry to establish that corrections “officers were not

required to stay at the court house as is alleged by Bingham.” See, Defs.’ Reply to Pl.’s

Resp. in Opp’n to Defs.’ Mot. Summ. J. (Docket Entry No. 228) at p. 7. However,

Bradberry was not deposed in connection with this case. His deposition was taken in

connection with a separate lawsuit currently pending against Defendant Jefferson County,

Texas for violations of the Uniformed Services Employment and Reemployment Rights

Act of 1994, 38 U.S.C. §§ 4301-4335, (“USERRA”) and TEX. GOV’T CODE ch. 613. See

generally, Bradberry v. Jefferson Co., Tex., No. 1:11-cv-00258-KFG (E.D. Tex. filed

May 25, 2011). That case is currently on interlocutory appeal to the United States Court

of Appeals for the Fifth Circuit pursuant to 28 U.S.C. § 1292(b).          See generally,

Bradberry v. Jefferson Co., Tex., No. 12-41040 (5th Cir. filed Sep. 20, 2012).



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       “A deposition lawfully taken and, if required, filed in any federal- or state-court

action may be used in a later action involving the same subject matter between the same

parties, or their representatives or successors in interest, to the same extent as if taken in

the later action.” FED. R. CIV. P. 32(a)(8). Bradberry’s deposition was taken in the later

action. And although the parties are the same in both lawsuits, Bradberry’s case involves

alleged violations of USERRA and TEX. GOV’T CODE ch. 613—not the Fair Labor

Standards Act of 1938, 29 U.S.C. §§ 201-219 (“FLSA”). The cases do share one thing in

common, though: in both Bradberry and Bingham, the United States Department of

Labor (“DOL”) investigated Jefferson County and found that it violated the law, but the

county, at the urging of then Assistant District Attorney Tom Rugg, refused to take

responsibility. However, this commonality is incapable of overcoming Rule 32(a)(8)’s

prohibition against using the deposition testimony taken in Bradberry in this case.

Therefore, the Court should strike Exhibit G (Docket Entry No. 228-2) to Defendants’

Reply to Plaintiff’s Response in Opposition to Defendants’ Motion for Summary

Judgment (Docket Entry No. 228).

                                     III. CONCLUSION

       For the foregoing reasons, the Court should strike Exhibit F (Docket Entry No.

228-1) and Exhibit G (Docket Entry No. 228-2) to Defendants’ Reply to Plaintiff’s

Response in Opposition to Defendants’ Motion for Summary Judgment (Docket Entry

No. 228).




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                                                Respectfully submitted,

                                                MOORE & ASSOCIATES

                                                By: /s/ Melissa Moore
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                                                ATTORNEYS FOR PLAINTIFFS



                            CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of October in the year 2012, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

                               Ms. Jessica L. Hallmark
                                Mr. Robert B. Dunham
                             DUNHAM HALLMARK, PLLC
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                                                               s/ Melissa Moore
                                                                Melissa Moore




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